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                                                                             FILED IN THE
                                                                         U.S. DISTRICT COURT
                                                                   EASTERN DISTRICT OF WASHINGTON


1
                                                                    Oct 13, 2021
                                                                        SEAN F. MCAVOY, CLERK
2

3                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                   No. 1:21-cr-02032-SMJ-1
5
                               Plaintiff,        ORDER GRANTING
6                                                DEFENDANT’S UNOPPOSED
                  v.                             MOTION TO CONTINUE TRIAL
7                                                AND TO SET A NEW PRETRIAL
     THOMAS ALEX MORRISION, JR.,                 CONFERENCE AND RELATED
8                                                TRIAL DEADLINES
                               Defendant.
9                                                AMENDED1 CASE
                                                 MANAGEMENT ORDER
10
            Before the Court, without oral argument, are Defendant Thomas Alex
11
     Morrison Jr.’s Unopposed Motion to Continue Trial and to Set a New Pretrial
12
     Conference and Related Trial Deadlines, ECF No. 22, and related Motion to
13
     Expedite, ECF No. 24. Defense counsel Paul E. Shelton requests a continuance of
14
     the pretrial motions filing deadline, the pretrial conference, and the trial, to allow
15
     more time to examine discovery, prepare any related motions, and prepare for trial.
16
     Defendant supports counsel’s request for a trial continuance for the articulated
17

18

19
     1
     This Order amends and supersedes in part the Court’s September 9, 2021 Case
20   Management Order, ECF No. 19.



     AMENDED CASE MANAGEMENT ORDER – 1
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1    reasons. ECF No. 23.2 Assistant U.S. Attorney Michael Davis Murphy, appearing

2    on behalf of the Government does not oppose the request. ECF No. 22 at 1.

3           The Indictment was filed on August 10, 2021. ECF No. 1. Defense counsel

4    appeared for Defendant on September 1, 2021. ECF No. 12. This is Defendant’s

5    first request for a continuance.

6           To ensure defense counsel is afforded adequate time to review discovery,

7    prepare any pretrial motions, conduct investigation, and prepare for trial, the Court

8    grants the motion, extends the pretrial motion deadline, and resets the currently

9    scheduled pretrial conference and trial dates. The Court finds that Defendant’s

10   continuance request is knowing, intelligent, and voluntary, and that the ends of

11   justice served by granting a continuance outweigh the best interest of the public and

12   Defendant in a speedy trial. The delay resulting from Defendant’s motion is

13   therefore excluded under the Speedy Trial Act.

14          Counsel are advised that all second or successive continuance requests will

15   be closely scrutinized for the necessity of more time to effectively prepare, taking

16   into account the exercise of due diligence.

17

18   2
      Due to the public health advisories and other restrictions imposed in response to
     the COVID-19 pandemic, the Court has permitted counsel to submit Defendant’s
19
     Statement of Reasons in Support of Motion to Continue, ECF No. 23, with
     counsel’s certification that Defendant has reviewed the document and consents to
20
     counsel signing the statement of reasons on his behalf.



     AMENDED CASE MANAGEMENT ORDER – 2
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1          Having considered the parties’ proposed case schedule and deadlines, the

2    Court now enters the following Amended Case Management Order, which sets forth

3    the deadlines, hearings, and requirements the parties will observe in this matter. To

4    the extent this Order conflicts with any previously entered Orders in this matter, this

5    Order shall govern. All counsel are expected to carefully read and abide by this

6    Order and such provisions of the current CMO which have not been superseded

7    hereby. The Court will grant relief from the requirements in this Order only upon

8    motion and good cause shown.

9          Accordingly, IT IS HEREBY ORDERED:

10         1.     Defendant’s Unopposed Motion to Continue Trial and to Set a New

11                Pretrial Conference and Related Trial Deadlines, ECF No. 22, and

12                related Motion to Expedite, ECF No. 24, are GRANTED.

13         2.     The Court finds, given defense counsel’s need for time to review

14                discovery, prepare any pretrial motions, conduct investigation, and

15                prepare for trial, that failing to grant a continuance would result in a

16                miscarriage of justice and would deny defense counsel the reasonable

17                time necessary for effective preparation, taking into account the

18                exercise of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(i),(iv). The

19                Court, therefore, finds the ends of justice served by granting a

20



     AMENDED CASE MANAGEMENT ORDER – 3
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1              continuance in this matter outweigh the best interest of the public and

2              Defendant in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A).

3        3.    Original CMO. Counsel must review the provisions of the original

4              September 9, 2021 CMO, ECF No. 19, and abide by those procedures

5              which remain in full force and effect and are incorporated herein

6              except for the new compliance deadlines in the following Summary of

7              Amended Deadlines.

8        4.    Pretrial Conference

9              A.    The current pretrial conference date of October 19, 2021, is

10                   STRICKEN and RESET to January 19, 2022, at 9:30 A.M.

11                   in YAKIMA. At this hearing, the Court will hear ALL pretrial

12                   motions that are noted for oral argument.

13             B.    All Pretrial Conferences are scheduled to last no more than

14                   thirty (30) minutes, with each side allotted fifteen (15)

15                   minutes to present their own motions and resist motions by

16                   opposing counsel. If any party anticipates requiring longer than

17                   fifteen minutes, that party must notify the Courtroom Deputy at

18                   least seven (7) days prior to the hearing. Any party who fails

19                   to provide this notice will be limited to fifteen (15) minutes.

20



     AMENDED CASE MANAGEMENT ORDER – 4
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1              C.    If a case has more than one defendant, the Court will construe

2                    any motion, including motions to continue, as applying to all

3                    defendants, unless that defendant indicates they do not wish to

4                    be joined in the motion. Defendants thus do not need to file

5                    motions to join.

6              D.    Sealed Documents. Any and all sealed documents (i.e. medical

7                    records etc.) shall be filed by the parties under the sealed event

8                    as a sealed document. The parties are not required to file a

9                    separate motion to seal the documents. The parties shall file any

10                   objections to the sealed document(s) by no later than five days

11                   after the filing of the sealed document(s).

12             E.    If a motion is to be heard with oral argument, and a party plans

13                   to call witnesses or present exhibits, that party must file an

14                   exhibit and/or witness list by no later than seventy-two hours

15                   before the hearing on the motion.

16             F.    If a party intends to use a laptop, thumb drive, or DVD or CD

17                   for presentation of documents, or audio or video recordings, that

18                   party must contact the Courtroom Deputy at least two weeks

19                   prior to the hearing and confirm the compatibility of the

20                   technology and equipment.




     AMENDED CASE MANAGEMENT ORDER – 5
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1                G.    If a party intends to use a demonstrative exhibit, such as a

2                      PowerPoint presentation, it must be submitted to the Court and

3                      all opposing parties at least twenty-four hours prior to its

4                      intended use.

5         5.     Trial. The current trial date of November 8, 2021, is STRICKEN and

6                RESET to February 14, 2022, at 9:00 A.M. in YAKIMA. The final

7                pretrial conference will begin at 8:30 A.M.

8         6.     Pursuant to 18 U.S.C. § 3161(h)(7)(B)(i) and (iv), the Court

9                DECLARES EXCLUDABLE from Speedy Trial Act calculations

10               the period from October 7, 2021, the date defense counsel moved to

11               continue, through February 14, 2022, the new trial date, as the period

12               of delay granted for adequate preparation by counsel.

13        7.     Summary of Deadlines

14    Rule 16 expert summaries produced to other
      parties and email to Court:
15                 USAO’s Experts:                               December 22, 2021
                   Defendant’s Experts:                          December 29, 2021
16                 USAO’s Rebuttal Experts:                       January 5, 2022
      All pretrial motions, including discovery
17    motions, Daubert motions, and motions in                   December 15, 2021
      limine, filed
18    PRETRIAL CONFERENCE                                         January 19, 2022
      Deadline for motions to continue trial                    9:30 A.M. - YAKIMA
19    CIs’ identities and willingness to be interviewed
                                                                 January 31, 2022
      disclosed to Defendant/s (if applicable)
20



     AMENDED CASE MANAGEMENT ORDER – 6
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1         Grand jury transcripts produced to Defendant/s
                         Case Agent:                                   January 31, 2022
2                        CIs:                                          January 31, 2022
                         Other Witnesses:                              January 31, 2022
3         Exhibit lists filed and emailed to the Court                 February 4, 2022
          Witness lists filed and emailed to the Court                 February 4, 2022
4         Trial briefs, jury instructions, verdict forms, and
                                                                       February 2, 2022
          requested voir dire filed and emailed to the Court
5
          Exhibit binders delivered to all parties and to the
                                                                       February 4, 2022
          Court
6
          Delivery of JERS-compatible digital evidence
                                                                       February 4, 2022
7         files to the Courtroom Deputy
          Trial notices filed with the Court                           February 4, 2022
8         Technology readiness meeting (in-person)                     February 7, 2022
     //
9
     //
10

11                                                                     February 14, 2022
          FINAL PRETRIAL CONFERENCE
                                                                     8:30 A.M. - YAKIMA
12
                                                                       February 14, 2022
13        JURY TRIAL
                                                                     9:00 A.M. - YAKIMA

14            IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and
15   provide copies to all counsel, the U.S. Probation Office, and the U.S. Marshals
16   Service.
17            DATED this 13th day of October 2021.
18

19                          _________________________
                            SALVADOR MENDOZA, JR.
20                          United States District Judge



     AMENDED CASE MANAGEMENT ORDER – 7
